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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.: 18-cv-61075-Moreno/Seltzer

  MITZY BATISTA,

                   Plaintiff,
  v.

  SOUTH FLORIDA WOMAN’S
  HEALTH ASSOCIATES, INC.,
  EDWARD D. ECKERT,

              Defendants.
  __________________________________/

            PLAINTIFF’S RESPONSE TO THE COURT’S ORDER TO SHOW CAUSE
                         AND MOTION FOR RECONSIDERATION
                 OF PLAINTIFF’S MOTION TO APPROVE SETTLEMENT

            Plaintiff, Mitzy Batista, by and through the undersigned counsel, hereby responds to the

  Court’s Order to Show Cause [DE 26] why Plaintiff’s case should not be dismissed because the

  Court granted Defendants’ motion to deposit $479.03 into the Court registry, and in support states

  the following:

       I.      Introduction

            From this case’s inception, Defendants have sought to avoid paying Plaintiff’s reasonable

  fees. Towards that end, Defendants have protracted this litigation, and caused both the Court and

  the undersigned to expend more time and resources than what would have otherwise been

  necessary. Defendants cannot simply cause Plaintiff’s case to be dismissed by tendering unpaid

  wages into the court registry. The parties previously agreed to an enforceable settlement that

  provided Plaintiff 100% of her unpaid minimum wages without compromise, 100% of Plaintiff’s

  liquidated damages without compromise, 100% of Plaintiff’s costs without compromise, and

  consented to the Court’s determination of Plaintiff’s reasonable attorney’s fees. Absent the Court’s

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  approval of the parties’ settlement, Plaintiff is entitled to have a judgment be entered in her favor

  and against Defendants.

     II.      Response to Court’s Order to Show Cause: Plaintiff’s Claims Are Not Moot and
              Should Not Be Dismissed.

           Defendants merely tendering $479.03 into the court registry does not moot Plaintiff’s

  claims and does not offer Plaintiff full relief. “Defendants cannot simply pay the full claim,

  including liquidated damages, and in so doing, avoid liability altogether for Plaintiff’s attorney’s

  fees and costs…” Fernandez v. Andy Iron Works, Inc., 13-CV-24477, 2014 WL 3384701, at *3.

  Absent a settlement approved by the Court, Plaintiff is entitled to a judgment in her favor and

  against Defendants, and attorney’s fees and costs:

                  The Eleventh Circuit has held that “settlement offers do not divest
                  the district court of subject matter jurisdiction.” Zinni v. ER
                  Solutions, Inc., 692 F.3d 1162, 1164 (11th Cir.2012). In Zinni, the
                  defendants attempted to dismiss multiple cases as moot by offering
                  the plaintiffs a dollar more than the maximum allowable award
                  under the Fair Debt Collection Protection Act. Id. at 1163. The
                  defendants also offered unspecified attorney’s fees and costs, but did
                  not offer to have judgment entered against them. Id. at 1164. Each
                  plaintiff rejected the offer, but the defendants still moved to dismiss
                  for lack of subject matter jurisdiction under Federal Rule of Civil
                  Procedure 12(h)(3) and the district court granted the motions as to
                  each plaintiff. Id. at 1163–64. The Eleventh Circuit reversed,
                  holding that “[b]ecause the settlement offers were not for the full
                  relief requested, a live controversy remained over the issue of a
                  judgment and the cases were not moot.” Id. at 1167–68. The court
                  specifically recognized that “[a] judgment is important to [the
                  plaintiffs] because the district court can enforce it.” Id. at 1168.
                  Thus, “[t]he district court erred in concluding [defendants’] offers
                  of settlement were for full relief such that [plaintiffs’] cases were
                  mooted.” Id.

                  *3 Courts that may have been inclined to read Dionne as allowing
                  defendants who paid full tender to avoid liability for attorney’s fees
                  and costs changed course following the Zinni decision. See,
                  e.g., Tapia v. Florida Cleanex, Inc., 09–21569–CIV, 2012 WL
                  7965871 at * 4 (S.D.Fla. Dec.7, 2012) (noting that Zinni forecloses
                  the approach that Defendants urge here). This case,

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                     like Tapia, closely resembles Zinni. Plaintiff has not conceded that
                     his overtime claim is moot. [ECF No. 16, p. 1]. Plaintiff still wants
                     to pursue a judgment for both claims and obtain the attorney’s fees
                     and costs that he believes he is entitled to here. [Id.]. The Eleventh
                     Circuit has made clear that when plaintiffs do not concede that their
                     case is moot, or accept a settlement offer (the Plaintiff has done
                     neither here), courts cannot simply dismiss the case with
                     prejudice. Dionne, 667 F.3d at 1206, n. 6; Zinni, 692 F.3d at 1164.

                     Accordingly, the Undersigned finds that a live controversy still
                     exists and Plaintiff’s overtime claim is not moot. Defendants cannot
                     simply pay the full claim, including liquidated damages, and in so
                     doing, avoid liability altogether for Plaintiff’s attorney’s fees and
                     costs and cause the remaining negligence claim to be remanded to
                     state court. [ECF No. 17, p. 1]. Zinni makes clear that settlement
                     offers, even those for the full amount of allowable damages, do not
                     extinguish a live controversy and thereby deprive the court of
                     subject matter jurisdiction. Zinni, 692 F.3d at 1164.

  Id. at *2–3.

                     Our decision in this matter addresses a very narrow question:
                     whether an employee who conceded that his claim should be
                     dismissed before trial as moot, when the full amount of back pay
                     was tendered, was a prevailing party entitled to statutory attorney's
                     fees under § 216(b). It should not be construed as authorizing the
                     denial of attorney's fees, requested by an employee, solely
                     because an employer tendered the full amount of back pay
                     owing to an employee, prior to the time a jury has returned its
                     verdict, or the trial court has entered judgment on the merits of
                     the claim.

  Dionne v. Floormasters Enters., Inc., 667 F.3d 1199, 1206 n. 6 (11th Cir.2012) (emphasis added).

       III.      Background

  1.          Defendants operate a medical office and employed Plaintiff as a medical assistant.

  2.          During the last payroll period of Plaintiff’s employment, from January 21 through February

  3, 2018, Plaintiff worked approximately 38 hours and was not paid.

  3.          On May 13, 2018, Plaintiff filed suit under the Fair Labor Standards Act for $275.50 in

  unpaid minimum wages, $275.50 in liquidated damages, plus attorney’s fees and costs.



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  4.      On May 25, 2018, Defendants offered $479.031 to settle Plaintiff’s claims without

  accounting for fees or costs.

  5.      On June 13, 2018, Defendants offered $550.50 plus $400 representing the filing cost; again,

  Defendants declined to offer any amount to compensate Plaintiff’s fees, and further declined to

  offer any amount to reimburse the $123 in costs incurred to serve Defendants with Plaintiff’s

  Complaint.

  6.      On July 10, 2018, Defendant Edward D. Eckert and the undersigned had a telephone

  conversation to discuss settlement. The settlement offers exchanged during the telephone call were

  as follows:

       a. Dr. Eckert offered to pay no fees and demanded that Plaintiff pay her own fees.

       b. The undersigned offered to resolve Plaintiff’s lawsuit for the value of her Statement of

          Claim, fees of $2,750, and costs of $523.2

       c. Dr. Eckert rejected the offer and, again, offered to pay no fees, and demanded that Plaintiff

          pay her own fees.

       d. At that point, realizing how unproductive the discussion was becoming, the undersigned

          offered to settle Plaintiff’s lawsuit for the value of her Statement of Claim plus reasonable

          fees and costs to be determined by the Court.

       e. Dr. Eckert responded: “I would rather pay a defense attorney $10,000 than allow a court

          to determine fees and costs.” Dr. Eckert made no counteroffer.



  1
    Plaintiff filed suit for $550.50. Defendants contend $479.03 represents Plaintiff’s net wages after
  tax withholdings are subtracted from her last paycheck.
  2
    This amount does not represent all fees incurred through the moment that offer was made but,
  instead, was inclusive of the estimated additional time the undersigned would be required to incur
  if the case settled at that time including but not limited to drafting and/or revising a settlement
  agreement, reviewing the agreement with Plaintiff, and seeking the Court’s review and approval
  of the settlement agreement.
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       f. Solely in an effort to avoid further litigation and bring this matter to rest, the undersigned

          then offered to settle Plaintiff’s lawsuit for the value of her Statement of Claim plus costs

          and compromised fees of $2,000.

       g. Dr. Eckert did not accept the offer. Instead, Dr. Eckert said he needed until 12:00 p.m. the

          following day to consider the offer.

  7.      Noon of the following day came and went and Dr. Eckert did not accept the offer.

  8.      Following the July 10 telephone conversation, Dr. Eckert sent a series of emails that

  misrepresented what the parties discussed and that disparaged the undersigned personally

  including:

       a. Dr. Eckert falsely claiming that Plaintiff’s initial settlement offer included $3,200 in fees.3

       b. Dr. Eckert falsely claiming that Plaintiff’s initial settlement offer represented fees that had

          been incurred up through the July 10 telephone call.4

       c. Dr. Eckert falsely claiming that Dr. Eckert’s remark—“I would rather pay a defense

          attorney $10,000 than allow a court to determine fees and costs.”—was said in response

          to Plaintiff’s first settlement offer instead of Plaintiff’s second settlement offer, and

          misrepresenting what was Plaintiff’s first offer.5



  3
    Dr. Eckert’s emails sent July 10, 2018 at 1:15 p.m., July 10, 2018 at 1:59 p.m., and July 11, 2018
  at 7:26 a.m. Contrary to Dr. Ecker’s claims, the undersigned never conveyed a settlement offer that
  included $3,200 in fees. The undersigned initially offered to resolve Plaintiff’s lawsuit for the value
  of her Statement of Claim, fees of $2,750, and costs of $523.
  4
    Dr. Eckert’s emails sent July 10, 2018 at 1:15 p.m., July 10, 2018 at 1:59 p.m., and July 11, 2018
  at 7:26 a.m. The undersigned never represented that $3,200 (or $2,750) represented Plaintiff’s fees
  incurred up to date through the parties’ July 10 telephone call. To the contrary, Plaintiff’s initial
  settlement offer, which included $2,750 in fees, was inclusive of the estimated additional time the
  undersigned would be required to incur if the case settled at that time including but not limited to
  drafting and/or revising a settlement agreement, reviewing the agreement with Plaintiff, and
  seeking the Court’s review and approval of the settlement agreement.
  5
    Dr. Eckert’s email sent July 11, 2018 at 7:26 a.m. Plaintiff’s first offer included $2,750 in fees
  and Plaintiff’s second offer was to allow the Court to determine Plaintiff’s reasonable attorney’s
                                                     5
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       d. Contradicting his prior false statements, Dr. Eckert falsely claimed that the undersigned

          said he had incurred “9.5 hours drawing up the two page complaint” which, if true, would

          have totaled $3,325 in fees—not the $3,200 falsely claimed by Dr. Eckert.6

  9.      On July 11, 2018, Lorice Jamito, a member of the undersigned’s staff, sent the following

  email advising that Dr. Eckert claimed Judge Moreno is his patient and that Judge Moreno will not

  “be happy” with the undersigned:




  fees and costs. Dr. Eckert again falsely claimed that Plaintiff’s first offer included fees of $3,200,
  which it did not.
  6
    Dr. Eckert’s email sent July 11, 2018 at 7:26 a.m.
                                                    6
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        IV.      This Case Settled

  10.         On July 11, 2018, the parties agreed in writing to a settlement. Filed at DE 18-1 are the

  emails between Dr. Eckert and the undersigned agreeing to a settlement.

  11.         The terms of the settlement that were agreed to by the parties are the following:

                 a. The parties agree to enter into a mutual general release of all claims.

                 b. Defendants agree to pay Plaintiff’s unpaid minimum wages and liquidated

                     damages, which total $551.

                 c. Defendants agree to pay Plaintiff’s costs of $523.

                 d. Defendants agree to pay Plaintiff’s reasonable attorney’s fees, as determined by the

                     Court.

                 e. The parties agree to the reservation of the Court’s jurisdiction to enforce the terms

                     of this settlement agreement.

                 f. In the event this settlement agreement must be enforced, the prevailing party shall

                     be entitled to recover attorney’s fees and costs from the non-prevailing party.

                 g. All payments shall be delivered to Koz Law, P.A., 320 SE 9th Street, Fort

                     Lauderdale, FL 33316.




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  12.   DE 18-1, p. 3 contains the settlement terms that were agreed to by the parties:




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  13.        DE 18-1, p. 1 contains Dr. Eckert’s acceptance of the settlement terms:




        V.      The Parties’ Settlement is Enforceable

             District courts have the inherent power to enforce settlement agreements. See, e.g., Ford v.

  Citizens and Southern National Bank, 928 F.2d 1118, 1121 (11th Cir. 1991); Kent v. Baker, III, 85

  F.2d 1365, 1398 (11th Cir. 1987). “Indeed, the power to implement a settlement agreement

  between the parties inheres in the district court’s role as supervisor of the litigation, and the

  exercise of that power is entrusted to the court’s sound discretion.” South Beach Suncare, Inc. v

  Sea & Ski Corp., 1999 WL 350458, at *6 (S.D. Fla. May 17, 1999). In both federal and state court,

  settlements are highly favored and will be enforced whenever possible. See, e.g, Murchison v.

  Grand Cypress Hotel Corp., 13 F.3d 1483, 1486 (11th Cir. 1994 (“We favor and encourage

  settlements in order to conserve judicial resources.”); Spiegel v. H. Allen Homes, Inc., 834 So. 2d




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   295, 297 (Fla. 4th DCA 2003) (“Settlement agreements are favored as a means to conserve judicial

   resources. Courts will enforce them when it is possible to do so.”).

              In order for a settlement agreement to be enforced, the agreement must also be “sufficiently

   specific and mutually agreeable on every essential agreement.” Don L. Tullis & Assocs. v. Benge,

   473 So. 2d 1384, 1386 (Fla. 1st DCA 1985). The execution of a settlement agreement is not a

   condition precedent to a settlement agreement, but rather a procedural formality. See Boyko v.

   Ilardi, 613 So. 2d 103, 104 (Fla. 3d DCA 1996). This means that “courts look to traditional notions

   of offer and acceptance, and basic contract law, to determine whether an enforceable contract

   exists.”

              Here, Plaintiff’s offer was the enumerated settlement terms stated in the undersigned’s

   email sent on July 11, 2018 at 9:20 p.m. See DE 18-1, p. 3. Defendants’ acceptance, sent via email

   on July 11 at 11:45 p.m., was clear and unequivocal: “I already confirmed that I agree with your

   offer.” DE 18-1, p. 1. “I agree with your offer Elliot, again.” Id.

              Settlements may exist under Florida law and be enforced without being signed by the

   parties or even when there is no writing at all. See Vital Pharmaceuticals, Inc. v. S.A.N. Nutrition

   Corp., 2007 WL 1655421, *6 (S.D. Fla. June 6, 2007) (“Execution of the settlement agreement is

   not a condition precedent to a settlement agreement, but rather is merely a procedural formality.”);

   Bonagura v. Home Depot, 991 So. 2d 902 (Fla. 1st DCA 2008) (holding that the parties reached a

   valid, binding oral settlement agreement without contingencies); Boyko v. Ilardi, 613 So. 2d 103

   (Fla. 3d DCA 1993) (finding that the parties entered into a binding oral settlement agreement which

   was expressly agreed to by both parties).

              For example, a settlement can be reached through a series of email exchanges. See

   Warrior Creek Development, Inc. v. Cummings, 56 So.3d 915 (Fla. 2d DCA 2011). Federal courts



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   within the Eleventh Circuit have likewise held that a binding settlement agreement can be

   reached via email. See, e.g., Miles v. Northwestern Mutual Life Ins. Co., 677 F. Supp. 2d 1312

   (M.D. Fla. 2009); Terra–ADI Int’l Dadeland, LLC v. Zurich American Ins. Co., 2007 WL 2460744

   (S.D. Fla. Aug. 24, 2007). The bottom line is that “[a]ll that is required is that the terms be clear,

   definite and capable of proof.” Reed By & Through Reed v. United States, 717 F. Supp. 1511, 1517

   (S.D. Fla. 1988) (citing Blum v. Morgan Guaranty Trust Co. of New York, 709 F.2d 1463 (11th

   Cir. 1983)). Therefore, “the physical act of signing a document is a mere formality where the

   parties clearly intend to be bound.” Id. (citing International Telemeter Corp. v. Teleprompter

   Corp., 592 F.2d 49 (2d Cir. 1979); United States v. McInnes, 556 F.2d 436, 441 (9th Cir. 1977)

   (holding that the signing of a stipulation is not required to enforce a settlement agreement).

          The parties did not expressly require the terms of the settlement to be memorialized in a

   formal document and executed by the parties in order to be enforceable. There is no legal to do so.

   Contrast Club Eden Roc, Inc. v. Tripmasters, Inc., 471 So. 2d 1322, 1324 (Fla. 3d DCA 1985)

   (“Where the parties intend that there will be no binding contract until the negotiations are reduced

   to a formal writing, there is no contract until that time.”) and Long Term Management, Inc. v.

   University Nursing Care Center, Inc., 704 So.2d 669, 674 (Fla. 1st DCA 1997) (finding that the

   parties did not intend for a settlement to be binding until it was reduced to writing and executed

   by the parties, based on counsel’s comments to the court that the settlement was “subject to [being

   written] down”) with Miles, 677 F. Supp. 2d at 1316 (holding that even though the settlement

   email contemplated a formal agreement fleshing out the essential terms contained within the

   email, there was no evidence that the parties did not intend to be bound by the terms recited

   in the email until and unless the more formal agreement was executed) and Vital

   Pharmaceuticals, Inc., 2007 WL 1655421, at *7 (noting that “no objective evidence in the record



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   provides any indication whatsoever that the parties did not intend to be bound until the agreement

   was written down and fully executed”).

           In this case, “there is no evidence to indicate that the parties did not intend to be bound

   until the agreement was formally documented and fully executed.” Jarvis v. BMW of N. Am., LLC,

   2016 WL 1162324, at *3 (M.D. Fla. Mar. 22, 2016). This is supported by the parties’ email

   exchanges and in Defendant’s response where he confirms twice that he agrees to Plaintiff’s

   settlement offer. There is also no evidence that the underlying settlement agreement was

   contingent on the execution of a physical signature, nor that the agreement be reduced to a formal

   written agreement.

           Accordingly, the undersigned respectfully requests that the Court grant Plaintiff’s request

   for reconsideration, and enter an order (1) approving the terms of the parties’ settlement, and (2)

   reserving jurisdiction to determine Plaintiff’s reasonable attorney’s fees.

      I.      Legal Standard for Motions for Reconsideration

      The standard for motions for reconsideration is as follows:

                  The purpose of a motion for reconsideration is to correct manifest
                  errors of law or fact or to present newly discovered evidence. In
                  particular, there are three major grounds which justify
                  reconsideration: (1) an intervening change in controlling law; (2) the
                  availability of new evidence; and (3) the need to correct clear error
                  or prevent manifest injustice. In order to reconsider a judgment there
                  must be a reason why the court should reconsider its prior decision,
                  and the moving party must set forth facts or law of a strongly
                  convincing nature to induce the court to reverse its prior decision. A
                  motion for reconsideration should not be used as a vehicle to present
                  authorities available at the time of the first decision or to reiterate
                  arguments previously made. Instead, a motion for reconsideration is
                  appropriate where the Court has patently misunderstood a party, or
                  has made a decision outside of the adversarial issues presented to
                  the Court by the parties, or has made an error not of reasoning, but
                  of apprehension . . . .Such problems rarely arise and the motion to
                  reconsider should be equally rare. Burger King Corp. v. Ashland
                  Equities, Inc., 181 F.Supp. 2d 1366, 1369 (S.D. Fla. 2002) (internal

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                  citations and quotation marks omitted).

   Burger King Corp. v. Ashland Equities, Inc., 181 F.Supp. 2d 1366, 1369 (S.D. Fla. 2002) (internal

   citations and quotation marks omitted). For the reasons stated herein, this motion is filed to correct

   clear error and manifest injustice.

          WHEREFORE, Plaintiff requests that the Court (1) find cause why Plaintiff’s case should

   not be dismissed, (2) grant Plaintiff’s Motion for Reconsideration, (3) enter an order approving the

   terms of the parties’ settlement, and (4) reserve jurisdiction for the Court to determine Plaintiff’s

   reasonable attorney’s fees.

                                                  Respectfully submitted,


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                                  CERTIFICATE OF CONFERRAL

          I HEREBY CERTIFY that counsel for the movant has conferred with all parties or non-

   parties who may be affected by the relief sought in the motion in a good faith effort to resolve the

   issues raised in the motion and has been unable to do so.




                                                  Elliot Kozolchyk, Esq.


                                     CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed
   on August 27, 2018 with the Clerk of Court using CM/ECF along with having served all counsel
   of record or pro se parties identified on the service list incorporated herein in the manner specified,
   either via transmission of Electronic filing generated by CM/ECF or in some other authorized
   manner for those counsel or parties not authorized to receive electronically Notice of Electronic
   Filing.




                                                  Elliot Kozolchyk, Esq.

                                             SERVICE LIST

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